       Case 4:21-cv-07006-JST Document 20 Filed 12/06/21 Page 1 of 2



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 9                             UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
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12   TWITCH INTERACTIVE, INC., a Delaware           Case No. 4:21-cv-7006-JST
     corporation,
13                                                  [PROPOSED] ORDER GRANTING
                 Plaintiff,                         PLAINTIFF’S EX PARTE APPLICATION
14                                                  TO SERVE DEFENDANT CHRIS
           v.                                       VOSTERMANS VIA ALTERNATIVE
15                                                  MEANS
     CHRIS VOSTERMANS, an individual, also
16   known as CRUZZCONTROL; and
     CREATINEOVERDOSE, an individual,               Judge:      Hon. Jon S. Tigar
17
                 Defendant.
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                                                                          4:21-CV-7006-JST
                                 [PROPOSED] ORDER GRANTING APP. FOR ALTERNATIVE SERVICE
        Case 4:21-cv-07006-JST Document 20 Filed 12/06/21 Page 2 of 2



 1                                  [PROPOSED] ORDER
 2       Having considered Plaintiff Twitch Interactive Inc.’s Application to Serve Defendant
 3   Chris Vostermans by Alternative Means, the Court hereby GRANTS Plaintiff’s Application.
 4   Twitch may serve Defendant Chris Vostermans (aka CruzzControl) via email at
 5   cruzzcontrol@hotmail.com.
 6          IT IS SO ORDERED.
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             December 6, 2021
     Dated: ___________________
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                                                               HONORABLE JON S. TIGAR
 9                                                             United States District Judge

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                                                                            4:21-CV-7006-JST
                                   [PROPOSED] ORDER GRANTING APP. FOR ALTERNATIVE SERVICE
